
*96OPINION.
Love:
The petitioner contends that the waiver delivered to the Commissioner on October 19, 1925, was ineffective and that the Commissioner is therefore barred from assessing and collecting additional taxes alleged to be due for the year 1919.
The issue presented by the motions in these proceedings is concluded by the decision of the Board in Joy Floral Go. v. Oommis-sioner, 7 B. T. A. 800, and upon authority of that decision the petitioner’s motion for judgment on the pleadings must be denied.
Order will he entered denying the motion for judgment of no deficiency, and restoring the proceeding to the calendar for hearing in due course upon the merits.
Considered by Trttssell, Smith, and Littleton.
